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United States Patent [191                                                                       [11] Patent Number:                                                 5,334,029
Akkapeddi et a1.                                                                                [45]    Date of Patent:                                         Aug. 2, 1994

[54]     HIGH DENSITY CONNECTOR FOR                                                             4,541,882 9/1985 Lassen .
         STACKED CIRCUIT BOARDS                                                                 4,707,657 11/1987 Boegh-Petersen ............ .. 324/158 F
                                                                                                4,949,455    8/1990 Nakamura et a1. ............. .. 439/75 x
[75] Inventors: Kaushik S. Akkapeddi, Hanover                                                   5,045,249    9/1991   Jin et a1. .
                Township, Morris County; Rocco                                                  5,049,982    9/1991   Lee et al. .
                Bonanni, Wayne Township, Passaic                                                5,140,405    8/1992    King et a1. ...................... .. 439/91 X
                            County, both of N.J.; Robert J.                                     5,154,621 10/1992 Legrady .
                            Gashler, Olathe, Kans; Michael G.                                   5,160,268 11/1992 Hakamian .
                                                                                                5,171,290 12/1992     Olla et a1, ................ .......... .. 439/71
                            German, Secaucus, N.J.; William R.
                            Lambert, Mendham Township,                                          5,174,763


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                                                                                                                      Wilson     . .. . . . . . . . . . . . . . .


                                                                                                                      Yoshizawa et al, ............ .. 439/66 X
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                            Morris County, N.J.; Eugene C.
                            Schramm, Parsippany Township,                                Primary Examiner—Khiem Nguyen
                            Morris County, NJ.                                           Attorney, Agent, or Firm-Lester H. Birnbaum
[73] Assignee: AT&T Bell Laboratories, Murray                                            [57]                         ABSTRACT
                            Hill, NJ.
                                                                                         Disclosed is a device for electrically coupling stocked
[21] Appl. No.: 59,844                                                                   circuit boards using conductive polymer interconnect
[22] Filed:                May 11, 1993                                                  material and a spacer element. In one embodiment,
                                                                                         coaxial connection is provided by means of an array of
[51]    Int. Cl.5 ............................................. .. H01R 9/09
                                                                                         wires within undulating metal envelopes. In another
[52]    US.    Cl.   .. ......... ....              . . . . . . ..   439/66; 439/73

[58]    Field of Search ...................... .. 324/158 F, 158 P;                      embodiment, pins are provided within holes in a plastic
                                                                                         spacer. In a third embodiment, wires are laid on a sub
             439/55, 66, 73, 74, 75, 80, 81, 91, 331, 607, 608
                                                                                         strate and successive laminations are built up to form
[56]                  References Cited                                                   the spacer element. In a fourth embodiment, wire arrays
               U.S. PATENT DOCUMENTS                                                     are extrusion molded within thermoplastic sheets which
                                                                                         are laminated to form the spacer element.
       3,077,511     2/1963         Bohrer et al. ................... .. 439/69 X
       4,003,621     l/l977         Lamp .
       4,514,784     4/1985         Williams et al. .                                                       10 Claims, 5 Drawing Sheets
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                                     FIG. 1
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             FIG.
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                                    FIG. 5




                                FIG. 6



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                                                                     FIG. 2 is a perspective view of a portion of the con
   HIGH DENSITY CONNECTOR FOR STACKED                              nector of FIG. 1 in accordance with a ?rst embodiment
             CIRCUIT BOARDS                                        of the invention;
                                                                     FIG. 3 is a cross-sectional view of a portion of the
       BACKGROUND OF THE INVENTION                                _ connector of FIG. 1 in accordance with an alternative
   This invention relates to electrical interconnection of         embodiment of the invention;
                                                                     FIG. 4 is an enlarged view of a portion of the connec
 stacked circuit boards.
                                                                  tor of FIG. 3;
   As space requirements have become more stringent,                FIG. 5 is a perspective view of a portion of the con
 the need has arisen for providing stacked arrays of              nector of FIG. 1 in accordance with a still further em
 printed circuit boards with integrated circuit (IC) and          bodiment of the invention;
 other components mounted thereon. In addition to the                FIG. 6 is a top view of the connector portion of FIG.
 requirement for electrical interconnection between the           5 during a certain stage of fabrication; and
boards, a spacer is required to ensure sufficient board              FIG. 7 is a perspective view of a portion of the con
separation to accommodate the components and to                   nector of FIG. 1 in accordance with a still further em
allow for cooling air ?ow (see, e.g., U.S. Pat. No.               bodiment of the invention.
5,049,982 issued to Lee et al.).
  For large board separations (i.e., 15 mm or more) and                        DETAILED DESCRIPTION
high density connections (i.e., less than 1.5 mm pitch) a            FIG. 1 illustrates a basic form of the invention for use
high aspect ratio is required for the conductors inter            in electrically connecting arrays of contact pads, e. g., 10
connecting the boards. This aspect ratio is dif?cult to           and 11, on stacked circuit boards, 12, 13 and 14. Each
meet with standard electrical connectors. Further, the            circuit board includes integrated circuit (IC) or other
lack of precisely parallel board surfaces can result in           components, e.g., 15-19, on one or more major surfaces
connection failures.                                       which are electrically coupled to the contact pads (e.g.,
   U.S. Pat. No. 5,049,982, cited above, shows intercon 25 10 and 11). It will be appreciated that each board would
nection of circuit boards using layers of conductive       typically include many more components and pads than
polymer interconnect (CPI) material and a spacer there     shown in FIG. 1. Further, any number of boards could
between. The spacers comprise pieces of printed circuit    be stacked depending on particular needs. Also, the
                                                           stacked boards need not all be the same size.
board with metal-coated vias therethrough for provid
                                                              Typically, each board is approximately 0.25-2.5 mm
ing the electrical interconnection.
                                                           thick. The invention is most advantageous when the
   U.S. Pat. No. 4,514,784 issued to Williams et al. em    pads on a board have a separation of less than 1.5 mm
ploys pins inserted in a connector block to interconnect   and the vertical spacing between boards is at least 15
circuit boards.                                            mm, thus requiting a high aspect ratio connector. How
  U.S. Pat. No. 5,160,268 issued to Hakamian provides 35 ever, the invention may also be useful in situations
interconnection between boards by means of a connec               where a very small gap between boards makes it diffi
tor which includes an array of spring contacts on the             cult to use standard pin and socket connectors. It will
top and bottom of the connector. Use of threaded in—              also be appreciated that the boards could be stacked in
serts allows the connector to float between the stacked           a horizontal as well as vertical direction.
boards.                                                              Each connector, 20, according to the invention in
   In U.S. Pat. No. 5,154,621 issued to Legrady, inter            cludes a pair of conductive polymer interconnect (CPI)
connection between boards is achieved by conductive               sheets, 21 and 22, on opposite major surfaces of a spacer
pins mounted within undulating sockets, while the                 element 23. CPI is a ?exible material, usually containing
boards are separated by a spacer plate made of conduc    Room Temperature Vulcanizing (RTV) silicone elasto
tive material which is grounded to provide shielding. 45 mer, which exhibits anisotropic conduction between the
  These approaches, while generally adequate, are not    major surfaces of the sheets, i.e., in the vertical direction
easily implemented when high density interconnection              in FIG. 1. This anisotropic conduction can be effected
and large board separations are required.                         by magnetically aligning conductive particles (not
                                                                  shown) within the material. (For an example of a CPI
       SUMMARY OF THE INVENTION                                   material, see, for example, U.S. Pat. No. 5,045,249 is
  The invention is a connector for providing electrical           sued to Jin et al. and incorporated by reference herein.)
connection between pads on the surfaces of stacked                The sheets are typically 0.125-1 mm thick.
circuit boards. The connector comprises a pair of ?exi              The spacer element 23 is preferably a relatively rigid
ble sheets exhibiting anisotropic conduction between              material which, according to various embodiments of
their major surfaces. The connector further includes a            the invention, can be a metal or a plastic. The body of
spacer element mounted between the pair of ?exible                the spacer will include individual, stand-alone, conduc
                                                                  tive elements, as described in more detail below, which
sheets. The spacer element comprises an array of indi             extend from one major surface of the spacer body to the
vidual, stand-alone, conductive elements, which are               other major surface of the spacer body and are ?ush
held in place by a spacer body.                                   with the major surfaces or protrude therefrom suffi
   BRIEF DESCRIPTION OF THE DRAWING                               ciently to make electrical contact with the CPI sheets
                                                                  21 and 22. The spacer element would, typically, be 1-30
  These and other features of the invention are delin             mm thick, but at least 15 mm thick in cases where a high
eated in detail in the following description. In the draw         aspect ratio connector is needed.
ing:                                                         65     The stack and connectors are held in place by a
  FIG. 1 an exploded cross-sectional view of a portion            clamping assembly which includes top, 30, and bottom,
of a stacked array of printed circuit boards including            31, half shells, one on either side of the stack. A spring
connectors in accordance with the invention;                      32 is inserted into a seat in the top shell along with a
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 screw 33 which extends through holes in the boards,              the shoulders make physical contact with a correspond
 12-14, sheets, e.g., 21-22, and spacers, e.g., 23, to a         'ing tapered hole (60 or 61). The pin 63, therefore, is free
 receptacle 34 in the bottom shell. Each spacer element           to “?oat” in a vertical direction in order to adjust to any
 can also include pegs, e.g., 35, extending therefrom             warpage or other irregularity in the circuit boards.
 through alignment holes in the boards, sheets and top               FIG. 5 illustrates yet another embodiment where,
 and bottom shells to provide alignment in the X-Y plane          similar to the FIG. 2 embodiment, the conductive ele
 of the boards. The screw 33 provides alignment in the            ments comprise an array of wires, e.g., 71-74. The wires
 Z-direction (vertical) by exerting a uniform force in that       are formed in rows, each row deposited on the major
 direction over the major surfaces of the boards, sheets          surface of an insulating substrate 75-77. Typically, the
 and spacers. This uniform force results from the fact            substrates would be polymer sheets with thicknesses in
 that the screw is spring loaded and situated in the center       the range 0.5-3 mm. The wires, again, could be standard
 of the clamping assembly. Further, if the shells 30 and          copper conductors coated with an insulation covering.
 31 are made of metal, the clamping assembly provides              As illustrated in the plan view of FIG. 6, a row of
 good heat sinking capability.                                   wires can be formed by routing a single wire on the
  FIG. 2 illustrates a form of spacer element, 23, in            surface of a substrate which includes an adhesive (not
accordance with an embodiment of the invention. The              shown) to hold the wire in place. (For an example of
spacer body comprises layers of undulating metal mate            such a process, see U.S. Pat. No. 4,541,882 issued to
rial, 41-44, such as brass or stainless steel. Each layer is, Lassen.) The substrate can also include a metal foil (not
typically, 0.1-0.5 mm thick. The undulating layers form       shown) which can be employed for shielding purposes.
a honeycomb con?guration as shown. Within the spaces 20 The various substrates with the wire patterns on their
formed by the metal layers is an array of wires, e.g., 45,    major surfaces can be stacked and held together with
each of which includes a conductive portion, e.g., 46,        adhesives, metal ?xtures or press-?t pins. The stack can
surrounded by an insulating coating, e.g., 47. The con        then be cut along the dashed lines 78 and 79 to separate
ductive portion is typically copper, and the insulating          the wire on each surface into a row of individual wires
coating is typically TEFLON ®. The insulated wires            25 as shown in FIG. 5. The cut surfaces of the structure
?t snugly within the spaces of the metal layer to essen          can be polished ?at, or a serrated cutting tool could be
tially form a ?xed array of conductors through the               used so that the wires protrude from the cut surfaces.
spacer body when the spacer is used in the assembly of              The structure of FIG. 5, when placed with the wires
FIG. 1. That is, each wire, e.g., 45, will provide an            in a vertical position, can act as the spacer element for
electrical connection between corresponding pads (e. g.,         the connector of FIG. 1.
10 and 11) of two circuit boards. The undulating metal              In accordance with-a further embodiment, as shown
layers 41-44 can be grounded to provide a shielding of           in FIG. 7, rather than place wires on the surfaces of
the conductors as in a coaxial cable. This is an especially      substrates, rows of copper wires, e.g., 90 and 91, can be
desirable feature for large board spacings (greater than         extrusion molded in thermoplastic sheets, e.g., 92. Sec
25 mm) since the signals would otherwise tend to de 35 tions of the extruded plastic with the embedded wire
grade over such distances. This feature is also useful for therein are cut to length with a serrated or ?at cutting
high frequency signals.                                    tool, and then several sheets, 92-94, can be laminated to
   The undulating metal layers can be formed, for exam     construct the appropriate conductive array for the
ple, by metal rolling using gear wheels rather than        spacer element. As in the previous embodiment, the
smooth rollers. The wires can be placed in the openings 40 sheets can be held together with an adhesive, metal
as the layers are stacked, and the layers can be held            ?xtures, or press-?t pins.
together by welding in the areas of mechanical contact             Various additional modifications of the invention will
between the layers.                                              become apparent to those skilled in the art. All such
  In FIG. 3, the spacer body comprises a plurality of            variations which basically rely on the teachings through
insulating blocks (in this example, three blocks 51-53).      45 which the invention has advanced the art are properly
The insulating blocks are typically made of plastic and          considered within the scope of the invention.
are held together by press-?t pegs 54 and 55 near the              We claim:
edges of the blocks. Blocks 51 and 53 each include at              1. A connector for providing electrical connection
least one alignment peg (56 and 57, respectively) and at         between pads on the surfaces of stacked circuit boards
least one alignment hole (58 and 59, respectively) for           comprising:
use in aligning the spacer with the printed circuit boards         a pair of ?exible sheets, each having major surfaces
(12-14 of FIG. 1) which will be electrically intercon                and exhibiting anisotropic conduction between the
nected. Center hole 68 through the blocks receives the               major surfaces;
clamping screw (33 of FIG. 1).                                     a spacer element mounted between the pair of ?exible
   Blocks 51-53 also include an array of aligned holes                sheets, the spacer element comprising an array of
(e.g., 60, 61, 62) for receiving therein an array of con             individual, stand-alone, conductive elements which
ductive pins, only two of which are illustrated as pins 63           are held in place by a spacer body; and
and 64. The pins are typically made of copper alloy and            a clamping assembly which aligns the spacer and
have a length which is slightly in excess of the com                 stack of circuit boards in three perpendicular direc
bined thicknesses of blocks 51-53 to ensure good elec                tions and includes a spring-loaded screw assembly
trical contact from one surface of the spacer to the                 comprising a screw inserted within a coil spring for
opposite surface.                                                    exerting a uniform force over the major surfaces of
  As illustrated more clearly in the enlarged view of             the sheets.           _
FIG. 4, the holes in blocks 51 and 53 (e.g., 60 and 62)        2. The connector according to claim 1 wherein the
which contain the pins (e.g., 63) are tapered, while the 65 spacer body is a rigid material.
hole 61 in block 52 which contains the pin has a uniform      3. The connector according to claim 1 wherein the
width. The pin 63 also includes a pair of shoulders (64,    ?exible sheets comprise room temperature vulcanized
65 and 66, 67) spaced from the ends of the pin such that    silicone rubber with magnetically aligned conductive
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particles extending between the major surfaces to pro             7. The connector according to claim 1 wherein the
vide the anisotropic conduction.                                conductive elements are spaced less than 1.5 mm apart,
  4. The connector according to claim 1 wherein the             and the spacer element is at least 15 mm thick.
                                                                  8. The connector according to claim 1 wherein the
conductive elements comprise insulation coated wires.           screw is located in the center of the. clamping assembly.
  5. The connector according to claim 4 wherein the               9. The connector according to claim 1 wherein the
spacer body comprises a plurality of stacked undulating         clamping assembly further comprises top and bottom
conductive sheets with the wires located within spaces          half shells, one on either side of the stacked circuit
formed between adjacent conductive sheets.                      boards.
                                                                  10. The connector according to claim 1 wherein the
  6. The connector according to claim 5 wherein the
                                                                conductive elements have ?at surfaces which contact
conductive sheets are electrically grounded to provide          the sheets.
an electromagnetic shield for the wires.                                            i   i   t   i   i



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